Case 2:85-cv-04544-DMG-AGR Document 725 Filed 02/20/20 Page 1 of 1 Page ID #:33971




                        UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                          FEB 20 2020
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
   JENNY LISETTE FLORES,                            No.    19-56326

                    Plaintiff-Appellee,             D.C. No.
                                                    2:85-cv-04544-DMG-AGR
     v.                                             Central District of California,
                                                    Los Angeles
   WILLIAM P. BARR, Attorney General; et
   al.,                                             ORDER

                    Defendants-Appellants.

   Before: TASHIMA, W. FLETCHER, and BERZON, Circuit Judges.

          Appellants’ renewed motion to set the case for oral argument is granted and

   the motion to set the case before a different panel is denied.

          Oral argument will take place on Thursday, April 23, 2020, at 2:00 p.m. in

   San Francisco, California. The court has referred this case to the Mediation Unit to

   explore mediation. In the event a resolution is reached, the case will be removed

   from the calendar; argument will not be postponed otherwise, barring exceptional

   circumstances.
